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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

UNITED STATES OF AMERICA                      §
                                              §
                                              §       No. 3:21-CR-00137-B
v.                                            §       Judge Boyle
                                              §
JENNIFER LYNNE FAITH                          §


           DEFENDANT’S UNOPPOSED MOTION FOR CONTINUANCE
                    OF THE SENTENCING HEARING

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, JENNIFER LYNNE FAITH, and would show the following:

       Ms. Faith’s PSR objections are due on April 22, 2022, and her sentencing hearing

is scheduled for May 26, 2022. However, undersigned counsel Cody Skipper has been

preparing for a trial before Judge Starr (United States v. Stroud, et al.; No. 3:19-CR-439-

X), which begins April 25, 2022, and he needs additional time to review the PSR with

Ms. Faith and to prepare for the sentencing hearing. Therefore, the undersigned requests

that the sentencing hearing and all related deadlines be continued for thirty (30) days.

       As far as scheduling conflicts, Cody Skipper will be unavailable from June 24 –

July 1, 2022 (annual family vacation), and Toby Shook will be unavailable from June 23

– June 29, 2022 and July 9 – July 16, 2022 (annual family vacation).
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       WHEREFORE, PREMISES CONSIDERED, Ms. Faith respectfully requests

that her sentencing hearing and all related deadlines be continued for thirty (30) days.


                                                      Respectfully submitted,

                                                      s/ Cody L. Skipper______
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                                                      /s/ Toby Shook______
                                                      TOBY SHOOK
                                                      Texas Bar: 18293250
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                                                      Dallas, TX 75201
                                                      Telephone: 214-850-9229
                                                      tobyshook@tobyshooklaw.com

                                                      Attorneys for Jennifer Faith




                           CERTIFICATE OF CONFERENCE

       I certify that on the 20th day of April, 2022, I conferred with Rick Calvert,

Assistant United States Attorney, and he is not opposed to this motion.

                                                      s/ Cody L. Skipper______
                                                      CODY L. SKIPPER




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                              CERTIFICATE OF SERVICE

       I certify that a true and correct copy of this Notice was filed electronically with

the Clerk of the United States District Court for the Northern District of Texas using the

CM/ECF system, which will send notification of such filing to Rick Calvert, Assistant

United States Attorney, via the court’s electronic filing system, on this the 21st day of

April, 2022.


                                                      s/ Cody L. Skipper______
                                                      CODY L. SKIPPER




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